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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 TRUTEK CORP.,                              Case No. 2:21-cv-10312

                    Plaintiff,              Hon. Stephen J. Murphy, III

 v.

BLUEWILLOW BIOLOGICS, INC.,

                   Defendants.



      PLAINTIFF’S MOTION TO AMEND THE SCHEDULING ORDER



NOW COMES Plaintiff TRUTEK CORP., by and through its attorneys, with this

Motion to Amend the Scheduling Order, and hereby states the following:

   1. The Complaint in this case was filed February 10, 2021.

   2. The Court issued a Scheduling Order on November 3, 2021. (EFC 021).

   3. The Parties have only recently begun discovery.

   4. The Defendants served Plaintiff with 71 requests for production and 13

       interrogatories, and has scheduled a 30(b)(6) Notice of Deposition for March

       31, 2022.

   5. Plaintiff’s co-counsel, Stanley Kremen, is currently out of the country.


UNOPPOSED MOTION AND
[PROPOSED] ORDER TO
MOVE SCHEDULING DATES                 -1-                       CASE NO. 2:21-cv-10312
Case 4:21-cv-10312-FKB-RSW ECF No. 24, PageID.251 Filed 03/18/22 Page 2 of 6

               EVENT                    ORIGINAL DUE DATE            PROPOSED DUE
                                                                     DATE
               WITNESS LIST             3/20/22                      5/4/22
               DISCLOSURE DUE
               EXPERT WITNESS           Opening Expert Reports:      Opening Expert
               DISCLOSURES              5/16/22                      Reports: 6/30/22
                                        Responsive Expert Reports:   Responsive Expert
                                        7/1/22                       Reports:
                                        Reply Expert Reports:        8/15/22
                                        8/15/22                      Reply Expert Reports:
                                                                     9/29/22
               DISCOVERY ENDS           Fact: 4/1/22                 Fact: 5/16/22
                                        Expert: 9/30/22              Expert: 11/14/22
               DISPOSITIVE              10/28/22                     12/12/22
               MOTIONS DUE:
   6. Plaintiff’s co-counsel, Keith Altman, has recently become legally blind.

      While accommodations are being put into place, it takes Mr. Altman

      considerably longer to read, write and prepare documents.

   7. Plaintiff hereby requests the currently set discovery-related deadlines be

      extended by 45 days.




   8. In accordance with Local Rule 7.1(2), Plaintiff met and conferred with the

      Defendant’s counsel on the present motion but were unable to come to an

      agreement. Defendants wanted a settlement conference as a condition to

      agreeing to the extension. Unfortunately, discovery has just gotten

      underway and the case is not yet ripe for a settlement conference.

   9. This request is not filed for the purpose of delay. It is Plaintiff’s belief that

      no party will be prejudiced by the granting of this motion.

PLAINTIFF’S MOTION
TO AMEND THE
SCHEDULING ORDER                  -2-                                CASE NO. 2:21-cv-10312
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   WHEREFORE Plaintiff respectfully requests that the Court approve the

foregoing Motion to Amend the Scheduling Order dates as outlined above.


Dated: March 18, 2022                 Respectfully Submitted,




                                      Keith Altman, Esq.
                                      Law Office of Keith Altman
                                      33228 West 12 Mile Road, Suite 375
                                      Farmington Hills, Michigan 48334
                                      Telephone: (987) 987-8929
                                      keithaltman@kaltmanlaw.com
                                      Attorneys for Plaintiff




PLAINTIFF’S MOTION
TO AMEND THE
SCHEDULING ORDER              -2-                           CASE NO. 2:21-cv-10312
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         EXHIBIT A




PLAINTIFF’S MOTION
TO AMEND THE
SCHEDULING ORDER             -2-                          CASE NO. 2:21-cv-10312
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 TRUTEK CORP.,                                Case No. 2:21-cv-10312

                     Plaintiff,               Hon. Stephen J. Murphy, III
 v.

BLUEWILLOW BIOLOGICS, INC.,

                Defendants.


                       AMENDED SCHEDULING ORDER


ORDERED that the Plaintiff’s Motion to Amend the Scheduling Order is granted.
EVENT                    ORIGINAL DUE DATE                 AMENDED DUE DATE
WITNESS LIST             3/20/22                           5/4/22
DISCLOSURE DUE
EXPERT WITNESS           Opening Expert Reports: 5/16/22   Opening Expert Reports:
DISCLOSURES              Responsive Expert Reports:        6/30/22
                         7/1/22                            Responsive Expert Reports:
                         Reply Expert Reports: 8/15/22     8/15/22
                                                           Reply Expert Reports:
                                                           9/29/22
DISCOVERY ENDS           Fact: 4/1/22                      Fact: 5/16/22
                         Expert: 9/30/22                   Expert: 11/14/22
DISPOSITIVE              10/28/22                          12/12/22
MOTIONS DUE:

March ____, 2022                           BY THE COURT



                                           ___________________________________
                                           Hon. Stephen J. Murphy, III

PLAINTIFF’S MOTION
TO AMEND THE
SCHEDULING ORDER                  -2-                              CASE NO. 2:21-cv-10312
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 TRUTEK CORP.,                             Case No. 2:21-cv-10312

                     Plaintiff,            Hon. Stephen J. Murphy, III

 v.

BLUEWILLOW BIOLOGICS, INC.,

                  Defendants.



                          CERTIFICATE OF SERVICE


      I certify that on March 18, 2022, I served the foregoing Plaintiff’s Motion to

Amend the Scheduling Order upon all parties herein by filing copies of same using

the ECF System.




                                        Keith Altman, Esq.
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                                        Farmington Hills, Michigan 48334
                                        Telephone: (987) 987-8929
                                        keithaltman@kaltmanlaw.com
                                        Attorneys for Plaintiff



PLAINTIFF’S MOTION
TO AMEND THE
SCHEDULING ORDER                  -2-                           CASE NO. 2:21-cv-10312
